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                                                                                  Marilyn Burgess - District Clerk Harris County
                                                                                                       Envelope No. 36228665

                                2019-59176 /Court: 215                                                          By: Joshua Hall
                                                                                                     Filed: 8/23/2019 12:54 PM


                                        CAUSE NO.


    JOSE MUNOZ                                       §                IN THE DISTRICT COURT OF
         Plaintiff                                   §
                                                     §                    HARRIS COUNTY, TEXAS
    v.
                                                     §
                                                     §                          JUDICIAL DISTRICT
    CERTAIN UNDERWRITERS AT                          §
    LLOYD'S, LONDON                                  §
          Defendant                                  §                   JURY TRIAL DEMANDED


                                 PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:


             COMES NOW PLAINTIFF Jose Munoz ("Plaintiff') and files this Original Petition


against Certain Underwriters at Lloyd's, London ("Defendant") and, in support of thereof, would


respectfully show the Court the following:


                       I.     Discovery Control Plan and Monetary Relief


1            Plaintiff intends to conduct discovery under Level 2. Tex. R. Civ. P. 190.3.

2.           Plaintiff seeks monetary relief under $100,000.00,      including damages of any kind,


penalties, costs, expenses, pre-judgment interest, and attorney's fees.       Tex. R. Civ P 47(c)(1).


Further, Plaintiff specifies that she seeks a maximum amount of damages that does not exceed the


sum or value of $74,000, exclusive of interest and costs.        Removal would be improper because


there is no federal question. Plaintiff has not asserted any claims arising under the Constitution,


treaties or laws of the United States of America. 28 U.S. Code § 133 1 .       Further, removal would


be improper because federal courts lack subject matter jurisdiction over this action, as the matter


in controversy does not exceed the sum or value of $75,000, exclusive of interest and costs. 28


U.S. Code § 1332.




                                                    EXHIBIT A
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                                   II.    Conditions Precedent


3.      Pursuant to Tex. R. Civ. P. 54, Plaintiff asserts that all conditions precedent to recovery


have been performed or have occurred.


                            III.     Parties. Jurisdiction and Venue


A.      Parties


4.      Plaintiff Jose Munoz is a Texas resident, who resides in 3605 Washington St., Pasadena,

Harris County, Texas.


5       Defendant Certain Underwriters at Lloyd's, London is an insurance company doing


business in the State of Texas, which may be served through Mendes & Mount at 750 7th Ave.


New York, NY 10019-6829.


B.      Jurisdiction


6.      The Court has subject matter jurisdiction over this cause of action because it involves an


amount in controversy in excess of the minimum jurisdictional limits of the Court.


7.      The Court has both general and specific personal jurisdiction over Defendant. The Court


has general jurisdiction over Defendant, as Defendant has sufficient minimum contacts with and


within this State and has purposefully availed itself of the privilege of conducting activities within


this State, thus invoking the benefits, protections, and obligations of this State's laws. Defendant's


contacts with this State, which are continuous and systematic, include doing business in Texas,


selling and delivering insurance products in Texas, entering into contracts for insurance in Texas


with Texas residents, insuring property located in Texas, underwriting insurance policies in Texas,


accepting policy premiums in Texas and adjusting insurance claims in Texas.         This activity was


not the unilateral activity of another party or a third person.
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8.       Defendant's contacts with Texas, relied upon by Plaintiff, were purposeful and were not

random, fortuitous, or attenuated, and are thus subject to the jurisdiction of this State in suits based


on its activities.   The Court has jurisdiction over Defendant because: (1) Defendant purposefully


availed itself of the benefits of conducting activities in Texas, and (2) the cause of action arises


from or relates to those contacts or activities


9.      The Court has specific jurisdiction over this matter as it involved the execution,


performance, and breach of a Texas insurance contract with Plaintiff, who is a Texas resident, with


regards to an insured risk and/or property located in Texas.         As a matter of law. Defendant

conducted business in this State because, without limitation. Defendant conducted the business of


insurance in Texas and committed one or more torts and/or violated the Texas DTPA and/or


Insurance Code, in whole or in part in this State, against Plaintiff in Harris County, Texas.


Defendant has sufficient and/or minimum contacts with this State, and thus Plaintiff affirmatively


assert the Court's exercise ofjurisdiction over Defendant comports with "traditional notions of fair


play and substantial justice."


C.      Venue


10.     Venue is proper in Harris County because all or a substantial part of the events or omissions


giving rise to the claim occurred in Harris County. Tex. Civ. Prac. & Rem. Code § 15.002(a)(1).


The property subject to this dispute and which is owned by Plaintiff is located in Harris County.


The insurance policy insuring the property was executed in Harris County. The damage to the


property resulted from an event or occurrence in Harris County.        The resulting insurance claim


that was made by Plaintiff, the property inspection performed by Defendant, and the denial and/or


underpayment of the insurance claim by Defendant occurred in Harris County.
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                                   IV.     Factual Background


11.       Jose Munoz is a named insured under a property insurance policy issued by Certain


Underwriters at Lloyd's, London. The policy number is ***2401 .


12.       Hurricane Harvey caused major wind damage to thousands of homes in the Southeast


Texas area. Hurricane Harvey's winds were sufficient to cause damage as evidenced in this claim..


Thereafter, Plaintiff s subsequently filed a claim on his insurance policy.


13.      Defendant improperly denied and/or underpaid the claim


14.      Defendant conducted a substandard investigation and inspection of the property, prepared


a report, which did not include all of the damages that were observed during the inspection, and


undervalued the damages observed during the inspection


15.       Specifically, On August 28, 2017, Hurricane Harvey hit the Texas coast, which included


Harris County. The impact of this storm caused roof and interior damage to Plaintiffs property.


Due to the roof damage, water entered into the house. As a result, the water damaged the ceiling


and stained the walls. Additionally, PLaintiff s fence was damaged. Thereafter, Plaintiff fled a


claim on his insurance policy.


16.      Defendant performed an outcome-oriented investigation of Plaintiffs claim. Defendant's


(improper) claims handling included Defendant's biased claims adjustment, and an unfair and


inequitable evaluation of Plaintiffs losses on the property.      In addition, Defendant's claims


handling included both an unreasonable investigation and underpayment of Plaintiffs claim.


                        V.       Causes of Action and Attorney's Fees


1 7.     Plaintiff incorporates the foregoing for all purposes.


A.       Breach of Contract
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18.     Plaintiff and Defendant entered into an insurance contract. Defendant breached this


contract by, without limitation, inadequately and/or improperly investigating Plaintiffs insurance


claim, wrongfully denying and/or underpaying the claim. Defendant damaged Plaintiff through


its actions and/or inactions described herein.


B.      Prompt Payment of Claims Statute


19.     Defendant's failure to pay for Plaintiffs losses and/ or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Section 542. 05 1 el seq. of


the Texas Insurance Code.


20.     In addition to Plaintiffs claim for damages, Defendant's violation of the Tex. Insurance


Code entitles Plaintiff to interest and attorneys' fees as set forth in Section 542.060 of the Texas


Insurance Code.


C.      Bad Faitii


21.     Defendant is an insurance company and insured Plaintiffs property. Defendant is required


to comply with Chapter 541 of the Texas Insurance Code.


22.     Defendant violated Section 541 .05 1 of the Texas Insurance Code by, without limitation:


        1.   Making statements misrepresenting the terms and/or benefits of the policy.


23.     Defendant also violated Section 541.060 by, without limitation:


        1.   Misrepresenting to Plaintiff a material fact or policy provision relating to coverage at


             issue;



        2.   Failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of


             a claim with respect to which the insurer's liability had become reasonably clear;
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         3.   Failing to promptly provide to Plaintiff a reasonable explanation of the basis in the


              policy, in relation to the facts or applicable law, for the insurer's denial of a claim or


              offer of a compromised settlement of a claim;

         4.   Failing within a reasonable time to affirm or deny coverage of a claim to Plaintiff or


              submit a reservation of rights to Plaintiff; and/or

         5.   Refusing to pay the claim without conducting a reasonable investigation with respect


              to the claim;


24.      Defendant violated Section 541 .061 by, without limitation:


         I.   Making an untrue statement of material fact;


        2.    Failing to state a material fact necessary to make other statements made not misleading


              considering the circumstances under which the statements were made;


        3.    Making a statement in a manner that would mislead a reasonably prudent person to a


              false conclusion of a material fact;


        4.    Making a material misstatement of law; and/or


        5.    Failing to disclose a matter required by law to be disclosed.


25.     Defendant knowingly committed the acts complained of. As such, Plaintiff is entitled to


exemplary and/or treble damages pursuant to Texas Insurance Code Section 541.152(a)-(b)


D. ATTORNEYS' FEES


26.     Plaintiff engaged the undersigned attorneys to prosecute this lawsuit against Defendant and


agreed to pay reasonable attorneys' fees and expenses through trial and any appeal


27.     Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to Texas Civil


Practice and Remedies Code Sections 38.001-38.003 because an attorney that represents Plaintiff
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presented the claim to Defendant, and Defendant did not tender the just amount owed before the


expiration of the 30th day after the claim was presented.


28.       Plaintiff further prays that he be awarded all reasonable attorneys' fees incurred in


prosecuting his causes of action through trial and any appeal pursuant to Sections 541. 152 and


542.060 of the Texas Insurance Code.


                                VI.       Tex. R. Civ. P. 193.7 Notice.


29.       Pursuant to Tex. R. Civ. P 193.7, the undersigned hereby notifies all parties and counsel


of record that Plaintiff may introduce into evidence at the time of trial or pre-trial, those documents


produced by all parties in response to requests for production and/or requests for disclosure in this


matter.



                                          VII.   Jury Demand

30.       Pursuant to Tex. R. Civ. P. 216, Plaintiff hereby demands trial by jury and has tendered the


appropriate fee.


                                             VI1L   Prayer


31.       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to


appear and answer herein, and that, after due process of law, Plaintiff have judgment against


Defendant for actual damages, together with exemplary damages, statutory damages, treble


damages, statutory interest, pre-judgment interest, post-judgment interest, attorneys' fees, costs of


suit, and for all such other and further relief, both general and special, in law and in equity, to


which Plaintiff may be justly entitled.
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                                 Respectfully submitted,


                                  The BUZBEE Law Firm

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                                     AND


                                   LAW OFFICES OF MANUEL SOLIS, PC


                                 By . v Stephen R. Walker
                                     Stephen R. Walker
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                                     Texas Bar No. 24034729
                                     Gregory J. Finney
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                                    ATTORNEYS FOR PLAINTIFF
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